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Proposed Counsel for Debtor and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                           :
                                                                :   Chapter 11
HI-TEMP SPECIALTY METALS, INC.,                                 :   Case No. 16-______
                                                                :
                                    Debtor.                     :
----------------------------------------------------------------x

           MOTION OF HI-TEMP SPECIALTY METALS, INC. FOR ENTRY OF
             INTERIM AND FINAL ORDERS (I) AUTHORIZING THE USE
                OF CASH COLLATERAL, (II) GRANTING ADEQUATE
              PROTECTION AND (III) SCHEDULING A FINAL HEARING

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Hi-Temp Specialty Metals, Inc. (“Hi-Temp” or the “Debtor”), as a debtor and debtor in

possession in the above-captioned chapter 11 cases, by its proposed attorneys, DiConza Traurig

Kadish LLP, hereby submits this motion (the “Motion”) seeking entry of an interim order,

substantially in the form attached hereto as Exhibit A (the “Interim Cash Collateral Order”), and

a final order (the “Final Cash Collateral Order,” together with the Interim Cash Collateral Order,

the “Cash Collateral Orders”) (a) authorizing Hi-Temp to use Cash Collateral (as defined herein)

pursuant to sections 361 and 363 of chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”); (b) approving the form of adequate protection provided to Wells Fargo

Bank, National Association (“Wells Fargo”), pursuant to Bankruptcy Code sections 361 and 363;
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(c) scheduling a final hearing (“Final Hearing”) on the Motion; and (d) granting related relief. In

support of this Motion, the Debtor respectfully represents as follows:

                                          Jurisdiction and Venue

        1.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157 (b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.       The statutory bases for the relief requested herein are sections 361 and 363 of the

Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2002, 4001(b), (d) and 9014 and

Local Bankruptcy Rule 4001-2.

                                                 Background

        3.       On the date hereof (the “Petition Date”), Hi-Temp commenced this case by filing

a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The factual background

regarding the Debtor, including its current and historical business operations and the events

precipitating the chapter 11 filing, is set forth in detail in the Declaration of Joseph Smokovich

Pursuant to Rule 1007-4 of the Local Bankruptcy Rules (the “Smokovich Declaration”), and is

incorporated herein by reference. 1

        4.       The Debtor continues in possession of its property and continues to operate and

manage its business as a debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.



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         Capitalized terms shall have the meanings ascribed to them in the Smokovich Declaration unless otherwise
defined herein.
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       5.      No trustee or committee has been appointed in the case.

                                Hi-Temp’s Business Operations

       6.      Hi-Temp is a privately-held Delaware corporation with its principal place of

business located in Yaphank, New York. Hi-Temp was founded in 1982 as a recycler and

provider of specialty recycled metals for the then-burgeoning super alloy industry. The material

provided was primarily tungsten and molybdenum, two of the heaviest metals on earth. They are

used in areas where high heat tolerances, stress and durability are required. In the late 1980s,

tantalum, another refractory metal, was added to the product mix.

       7.      The original model, which still holds true today, is to recycle these metals in a

manner that eliminates the need to source material from ore (in mines), and then upgrade the

material into pure forms. Hi-Temp obtained and maintains material approvals from many of the

world’s largest manufacturers of super alloys where it is authorized and approved to provide

scrap and recycled material instead of virgin material. In this industry, Hi-Temp is the largest

manufacturer of such material in the world, and is an essential part of the supply chain for many

domestic U.S. manufacturers of precision cast parts.




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                            The Wells Fargo Financing Transactions

       8.      The Debtor and Wells Fargo are parties to an Amended and Restated Credit and

Security Agreement dated as of July 16, 2010 (as amended, the “Credit Agreement”). A copy of

the Credit Agreement (as well as Financing Statements filed by Wells Fargo or its predecessors)

are annexed hereto as Exhibit B.

       9.      Pursuant to the Credit Agreement, Wells Fargo provided the Debtor with a

revolving line of credit for working capital purposes and to facilitate the issuance of letters of

credit up to the maximum amount of $22.5 million. As of June 2, 2016, the aggregate

outstanding principal amount of the indebtedness due Wells Fargo under the Credit Agreement is

approximately $13 million (the “Prepetition Obligations”).

       10.     To secure the Prepetition Obligations, Hi-Temp granted to Wells Fargo security

interests in, and liens on (the “Prepetition Liens”), among other things, substantially all of its

assets, whether then or thereinafter existing or then owned or thereafter acquired including, but

not limited to, accounts, inventory, equipment and all products and proceeds of all of the

foregoing (the “Prepetition Collateral”).

       11.     As a result of dramatic decrease in commodity prices, Hi-Temp experienced a

slump in profitability in fiscal year ending 2015 (May 31, 2015) and for the first time

experienced a loss. As a result of weakness in the market, Hi-Temp failed to meet a fixed charge

coverage ratio and in the fall 2014, Wells Fargo declared a default under the Credit Agreement.

Since December 2014, the Debtor and Wells Fargo have entered into a series of amendments and

forbearance agreements to the Credit Agreement.
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        12.     Notwithstanding great strides by the Debtor in its transition back to profitability,

Wells Fargo has decreased availability under the line of credit by more than $7 million and has

requested Hi-Temp’s consent to additional restrictions on access to financing as well as personal

guarantees from the Debtor’s president. Liquidity and free cash has decreased to a point where

Hi-Temp is having trouble paying key suppliers, employees and other creditors.

        13.     The Debtor filed this chapter 11 case to preserve and maximize its asset values for

all its creditors, preserve the jobs of Hi-Temp’s employees and afford Hi-Temp the necessary

time and statutory tools to reorganize its financial affairs.

                                           Relief Requested

        14.     All cash in the Debtor’s possession or control as of the Petition Date and all cash

coming into the Debtor’s possession after the Petition Date constituting proceeds of the

Prepetition Collateral may be cash collateral of Wells Fargo within the meaning of section 363(a)

of the Bankruptcy Code (the “Cash Collateral”). Accordingly, Hi-Temp respectfully requests

that the Court (i) enter the Interim Cash Collateral Order Pursuant to 11 U.S.C. § 363(c) and

Granting of Adequate Protection Pursuant to 11 U.S.C. § 361 in the form attached hereto as

Exhibit A authorizing the interim use of Cash Collateral on the terms and conditions set forth in

the Interim Cash Collateral Order, and scheduling a Final Hearing on the Motion; (ii) at the Final

Hearing, enter an order authorizing the continued use of Cash Collateral on the terms and

conditions set forth in the proposed order to be filed by the Debtor with the Court; and (iii) grant

such other and further relief as is just and proper.



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                          Summary of Interim Cash Collateral Order

       15.     The Interim Cash Collateral Order provides, among other things, that Hi-Temp

shall be entitled to use the Cash Collateral to pay its ordinary and necessary business and

operating expenses in accordance with and subject to the terms and conditions set forth therein.

Generally, the proposed use of Cash Collateral shall be consistent with and for the purposes

described in the budget attached to the Interim Cash Collateral Order as Exhibit A (the “Budget”),

prepared by the Debtor. The Debtor seeks seek authority to use the Cash Collateral for, among

other things: (a) working capital requirements; (b) general corporate purposes; and (c) the costs

and expenses of administering the chapter 11 case (including payment of the allowed fees and

expenses of professionals retained by the Debtor’s estate).

       16.     Other key provisions of the Interim Cash Collateral Order are set forth below.

Without access to Cash Collateral, the Debtor’s ability to operate and ultimately restructure as a

going concern will be jeopardized to the detriment of all of the Debtor’s stakeholders.

A.     Adequate Protection

       17.     As adequate protection for any diminution in the value of the Prepetition

Collateral resulting from (i) the use of the Cash Collateral pursuant to Bankruptcy Code § 363(e),

(ii) the use, sale or lease of the Prepetition Collateral (other than the Cash Collateral) pursuant to

Bankruptcy Code § 363(c) and (iii) the imposition of the automatic stay pursuant to Bankruptcy

Code § 362(a), the Interim Cash Collateral Order provides that Wells Fargo shall be granted

(upon Court approval and effective as of the Petition Date and without the necessity of the

execution by Hi-Temp of any other security agreement or pledge agreement), pursuant to
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Bankruptcy Code §§ 361 and 363(e), to the same extent, priority and validity as the Prepetition

Liens existing with respect to the Prepetition Collateral as of the Petition Date, valid and

perfected, replacement security interests in, and liens on (“Replacement Liens”), all of Hi-

Temp’s right, title and interest in and to all of Hi-Temp’s existing and after-acquired tangible and

intangible personal property in existence on or acquired or created at any time after the Petition

Date (the “Postpetition Collateral”), junior only to the Carve-Out (as defined below); provided

however, that the Postpetition Collateral shall not include the proceeds of any claims or causes of

action of the Debtor or its estate that may later be commenced under chapter 5 of the Bankruptcy

Code.

B.      Carve-Out

        18.    Pursuant to the Interim Cash Collateral Order, the Prepetition Liens and any

Replacement Liens shall be subject to a carve-out (the “Carve-Out”) for (i) all fees required to be

paid to the Clerk of the Bankruptcy Court and to the Office of the United States Trustee under

section 1930(a) of title 28 of the United States Code plus interest pursuant section 3717 of title

31 of the United States Code, (ii) the costs and administrative expenses not to exceed $15,000 in

the aggregate that are permitted to be incurred by any chapter 7 trustee pursuant to an order of

this Court following any conversion of any of the Cases pursuant to section 1112 of the

Bankruptcy Code, and (iii) the payment of allowed and reasonable professional fees and

disbursements (the “Professional Fees and Disbursements”) incurred by the professionals

retained by the Debtor. Courts have regularly held that carve outs for professional fees are

reasonable and necessary to ensure that a debtor may retain assistance from counsel of its choice.
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See, e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990). In addition,

the Carve Out ensures that Cash Collateral may be used for the payment of U.S. Trustee fees.

C.     Extraordinary Provisions

       19.     The Debtor believes that the proposed Interim Cash Collateral Order does not

include any Extraordinary Provisions.

       20.     The Interim Cash Collateral Order reserves all rights of the Debtor, any committee

appointed in the case and any creditor’s right to contest the validity and extent of the purported

Wells Fargo liens.

                                          Basis for Relief

       21.     Pursuant to court order, a debtor in possession may be authorized to use cash

collateral in the ordinary course of its business operations under Bankruptcy Code §§ 363(c) and

1107. The Court may condition such use, pursuant to Bankruptcy Code § 363(e), as is necessary

to provide adequate protection of any interest held therein by any entity other than the debtor in

possession.

       22.     Courts repeatedly have recognized that use of cash collateral is appropriate where

necessary to preserve a debtor’s ability to reorganize and thus maximize the value of an estate for

all interested parties. See In re Realty Southwest Assoc., 140 B.R. 360, 366 (Bankr. S.D.N.Y.

1992); H.R. Rep. No. 595, 95th Cong., 1st Sess. 344 (1977); see also In re Dynaco, 162 B.R.

389, 396; In re Stein, 19 B.R. 458 (Bankr. E.D. Pa. 1982). Bankruptcy Rule 4001(b) governs

authorization for utilizing cash collateral and provides that the court may permit the debtor-in-

possession to use cash collateral prior to a final hearing to the extent necessary to avoid
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immediate and irreparable harm. After a final hearing held on at least fifteen days’ notice, the

court may grant the authority to use cash collateral on a permanent basis and other permanent

relief requested herein.

       23.     Courts determine the means for providing adequate protection on a case-by-case

basis. See In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996); In re Beker Indus. Corp.,

58 B.R. 725 (Bankr. S.D.N.Y. 1986); see also In re O’Connor, 808 F.2d 1393, 1396 (10th Cir.

1987); In re Martin, 761 F.2d 472 (8th Cir. 1985). Adequate protection is provided to protect a

secured creditor from any diminution in the value of its interest in the particular collateral during

the period of use. See In re Hubbard Power & Light, 202 B.R. 680 (Bankr. E.D.N.Y. 1996); see

also In re 495 Central Park Avenue Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992); In re

Beker Indus. Corp., 58 B.R. at 736.

       24.     The concept of adequate protection is designed to shield a secured creditor from

diminution in the value of its interest in collateral during the period of a debtor’s use. See In re

Carbone Cos., 395 B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the secured

party’s interest is protected from diminution or decrease as a result of the proposed use of cash

collateral.”); see also In re WorldCom, Inc., 304 B.R. 611, 618-19 (Bankr. S.D.N.Y. 2004) (“The

legislative history for section 361 of the Bankruptcy Code, which sets forth how adequate

protection may be provided under section 363, makes clear that the purpose is to insure that the

secured creditor receives the value for which the creditor bargained for prior to the debtor’s

bankruptcy.”). “However, neither the legislative history nor the Bankruptcy Code requires the



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Court to protect a creditor beyond what was bargained for by the parties.” Id. at 619; see Beker,

58 B.R. at 741 (“Adequate protection, not absolute protection, is the statutory standard.”).

       25.     Pursuant to Section 363(c) of the Bankruptcy Code, Hi-Temp requests

authorization to use Cash Collateral during the period from the Petition Date through the middle

of September 2016, subject to further court-approved extensions of such period (the “Specified

Period”) to pay those actual, necessary ordinary course operating expenses set forth in the

Budget. In exchange for the use of Cash Collateral, Hi-Temp proposes to grant Wells Fargo

adequate protection in the form of Replacement Liens on the Postpetition Collateral.

       26.     The use of the Cash Collateral is essential to Hi-Temp’s operations and

rehabilitation efforts. Hi-Temp requires the ability to pay expenses to preserve the going concern

value of its operations. Authorization to utilize Cash Collateral will provide Hi-Temp with the

liquidity necessary to operate its business and pay the various expenses associated therewith.

Without authorization to utilize the Cash Collateral, Hi-Temp’s business operations will be

severely interrupted, if not completely terminated, and serious and irreparable harm to Hi-Temp

and its estate would occur. See In re Salem Plaza Assocs., 135 B.R. 753, 758 (Bankr. S.D.N.Y.

1992) (holding that debtor’s use of cash collateral to pay operating expenses, thereby

“preserv[ing] the base that generates the income stream,” provided adequate protection to the

secured creditor). Continued operations of the Debtor’s business are far more likely to maintain,

or even increase, the value of the underlying collateral as compared with the catastrophic loss of

value that could result from denial of this Motion. See In re Jim Kelly Ford of Dundee, Ltd., 14

B.R. 812 (N.D. Ill. 1980) (lender was adequately protected and debtor was authorized to use cash
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collateral to fund operations because the lender benefited from the difference between the

average sale price of car sold at retail and the average sale price if the same vehicle was sold at a

wholesale auction).

       27.     To avoid immediate and irreparable harm, pending the Final Hearing, Hi-Temp

respectfully requests the Court allow use of the Cash Collateral pursuant to the terms and

conditions of the Interim Cash Collateral Order, to make payments of necessary ordinary-course

expenses, as identified in Budget.

       28.     At the Final Hearing, Hi-Temp will seek final authority from the Court to use

Cash Collateral through the Specified Period for the payment of ordinary course expenses in

accordance with the Budget. If Hi-Temp anticipates a need to use additional Cash Collateral

beyond the Specified Period, Hi-Temp may seek a further order of this Court.

       29.     Based on the foregoing, it is respectfully submitted, that this Court should

authorize Hi-Temp’s use of Cash Collateral.

                           Interim Relief and Notice of Final Hearing

       30.     Bankruptcy Rule 4001(b) provides that a final hearing on a motion to use cash

collateral pursuant to section 363 may not be commenced earlier than 14 days after the service of

such motion. However, the Court is authorized to conduct a preliminary expedited hearing on

the Motion and authorize the Debtor’s proposed use of cash collateral to the extent necessary to

avoid immediate and irreparable harm to a debtor’s estate. See Fed. R. Bankr. P. 4001(b)(2).

       31.     The Debtor has an immediate postpetition need to use Cash Collateral. The

Debtor cannot maintain the value of its business and estate during the pendency of the chapter 11
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case without access to Cash Collateral. The Debtor will use Cash Collateral to, among other

things, procure goods from vendors, pay employees, and satisfy other working capital needs

during the chapter 11 case. The Debtor will, therefore, be unable to operate its business as a

going concern or finance the costs of administering the chapter 11 estate without the ability to

use Cash Collateral.

       32.     The Debtor, therefore, seeks immediate authority to use Cash Collateral on an

interim basis and as set forth in this Motion and to prevent immediate and irreparable harm to its

estate pending the Final Hearing pursuant to Bankruptcy Rule 4001(b). The Debtor respectfully

submits that it has satisfied the requirements of Bankruptcy Rule 4001 to support an expedited

preliminary hearing and immediate Cash Collateral availability on an interim basis.

       33.     Notice of this Motion and proposed Interim Cash Collateral Order will be

provided by email, facsimile or overnight delivery of a copy to (a) Wells Fargo; (b) the twenty

(20) largest unsecured creditors of the Debtor; (c) all known creditors who have or assert liens

against the Debtor’s assets; (d) the Debtor’s taxing authorities; (e) the Office of the United States

Trustee; and (f) all parties filing a notice of appearance in this case (the “Notice Parties”).

       34.     Pursuant to Bankruptcy Rule 4001, Hi-Temp respectfully requests that it be

authorized to serve notice of the Final Hearing and a proposed Final Cash Collateral Order upon

the Notice Parties, on or before a date to be set by the Court, and upon counsel to any official

committee appointed herein, within one day after the Debtor receives notice of the appointment

of such counsel. In light of the nature of the relief requested herein, the Debtor submits that no

other or further notice need be given.
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                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       35.      To implement the foregoing successfully, the Debtor requests that the Court find

and order that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and that the

Debtor has established cause to exclude such relief from the 14-day stay period under Bankruptcy

Rule 6004(h).

                                         No Prior Request

       36.      No previous request for the relief sought in this Motion has been made to this or

any other court.

       WHEREFORE the Debtor respectfully request that the Court enter an order granting the

relief requested herein, and such other and further relief as may be just.

Dated: New York, New York
       June 22, 2016

                                               Respectfully submitted,

                                              DICONZA TRAURIG KADISH LLP
                                              Proposed Attorneys to Debtor and Debtor in
                                              Possession


                                              By:     /s/ Gerard DiConza
                                                      Gerard DiConza
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                                Exhibit A



                      Proposed Cash Collateral Order
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :
                                                               :      Chapter 11
HI-TEMP SPECIALTY METALS, INC.,                                :      Case No. 16-______
                                                               :
                                    Debtor.                    :
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          INTERIM ORDER (A) AUTHORIZING USE OF CASH COLLATERAL
                  PURSUANT TO 11 U.S.C. § 363(c); (B) GRANTING
             ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. § 361 AND
         (C) SCHEDULING FINAL HEARING ON USE OF CASH COLLATERAL


                 Upon the Motion dated June __, 2016 (the “Motion”) 1 of Hi-Temp Specialty

Metals, Inc. (“Hi-Temp” or the “Debtor”), for entry of interim and final orders (a) authorizing

the Debtor to use Cash Collateral pursuant to sections 361 and 363 of chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”); (b) approving the form of adequate protection

provided to Wells Fargo Bank, National Association (“Wells Fargo”), pursuant to Bankruptcy

Code sections 361, 362, 363 and 364; (c) scheduling a final hearing (“Final Hearing”) on the

Motion; and (d) granting related relief; and the Court having jurisdiction to consider the Motion

and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334; and consideration

of the Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §

157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and

due and proper notice of the Motion having been provided; and it appearing that no other or

further notice need be provided; and the Court having determined that the relief sought in the

Motion is in the best interests of the Debtor and its estate and creditors; and the Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the


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        Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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relief granted herein; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefore;

               IT HAVING BEEN FOUND AND DETERMINED by this Court that:

         A.    On June __, 2016 (the “Petition Date”), Hi-Temp commenced the above-

captioned chapter 11 case by filing a voluntary petition for relief under chapter 11 of the

Bankruptcy Code.

         B.    The Debtor continues to operate its business and manage its property as debtor in

possession pursuant to Section 1107(a) and 1108 of the Bankruptcy Code.             No trustee or

examiner has been appointed in either of the Debtor’s case (the “Case”).

         C.    As of the date of this Motion, the United States Trustee has not yet appointed an

official committee of unsecured creditors in the Case.

         D.    A full recitation of the factual background relating to the Case may be found in

the Local Rule 1007 Declaration of Joseph Smokovich, dated as of June __, 2016.

         E.    Prior to the Petition Date, pursuant to the terms, conditions and limitations set

forth in that certain Amended and Restated Credit and Security Agreement dated as of July 16,

2010 (as amended, the “Credit Agreement”), Wells Fargo extended financing to the Debtor.

         F.    As of the Petition Date, outstanding obligations under the Credit Agreement are

approximately $13,000,000.00 (the “Prepetition Obligations”).

         G.    The Debtors dispute the amount of the Prepetition Obligations due to Wells

Fargo.

         H.    To secured the Prepetition Obligations, Wells Fargo was granted a security

interests in, and liens on (the “Prepetition Liens”) substantially all of Hi-Temp’s property and

fixtures, in each case whether then or thereinafter existing or then owned or thereafter acquired



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and whether subject to the Uniform Commercial Code including, but not limited to, all goods,

money, contract rights, instruments, accounts, inventory, equipment, documents, chattel paper,

securities and general intangibles; and all replacements and substitutions for, and all accessions

and additions to, and all products and proceeds of all of the foregoing (collectively, the

“Prepetition Collateral”).

       I.      Hi-Temp requires the continued use of cash and cash collateral to operate its

business and pay its necessary and ordinary operating expenses.

       J.      Wells Fargo has a security interest in Hi-Temp’s cash collateral.

       K.      Hi-Temp seeks Court authorization pursuant to sections 361 and 363(c) of the

Bankruptcy Code and Rules 4001(b) and 9014 of the Federal Rules of Bankruptcy Procedure (as

amended, the “Bankruptcy Rules”), to, inter alia, use the Cash Collateral (as defined below) and

to provide adequate protection to Wells Fargo to the extent of any diminution in value of Wells

Fargo’s interests in the Prepetition Collateral resulting from the use of Cash Collateral, the use,

sale or lease of the Prepetition Collateral (other than the Cash Collateral) and the imposition of

the automatic stay pursuant to Bankruptcy Code § 362(a).

       L.      Hi-Temp does not have sufficient available sources of working capital and

financing to operate its business in the ordinary course of business or maintain its property

without the use of the Cash Collateral. Hi-Temp’s ability to maintain business relationships with

its vendors, suppliers and customers, to pay employees and otherwise finance its operations, is

essential to Hi-Temp’s continued viability and to maintain the value of its assets. In the absence

of the use of Cash Collateral, the continued operation of Hi-Temp’s business would be in doubt,

and serious and irreparable harm to Hi-Temp and its estate would occur.

               Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED that:



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       1.      Cash in Hi-Temp’s possession or control as of the Petition Date and all cash

coming into Hi-Temp’s possession after the Petition Date constituting proceeds of the Prepetition

Collateral is cash collateral of Wells Fargo within the meaning of section 363(a) of the

Bankruptcy Code (“Cash Collateral”) and Wells Fargo is entitled, pursuant to sections 361 and

363(e) of the Bankruptcy Code, to adequate protection of its interest in the Prepetition Collateral

for the use of Cash Collateral, the use, sale or lease of the Prepetition Collateral (other than the

Cash Collateral), and the imposition of the automatic stay.

       2.      Hi-Temp shall be entitled to use the Cash Collateral in accordance with and

subject to the terms and conditions of this Order and pursuant to the Budget attached hereto as

Exhibit 1 (the “Budget”).

       3.      The Budget is hereby approved.

       4.      The proposed use of Cash Collateral shall be consistent with and for the purposes

described in the Budget, or in the event the Debtor finds it necessary to deviate from the

approved Budget, then as approved by the Court or Wells Fargo upon prior written request.

       5.      As adequate protection for any diminution in the value of the Prepetition

Collateral resulting from (i) the use of the Cash Collateral pursuant to section 363(e) of the

Bankruptcy, (ii) the use, sale or lease of the Prepetition Collateral (other than the Cash

Collateral) pursuant to section 363(c) of the Bankruptcy Code, and (iii) the imposition of the

automatic stay pursuant to section 362(a) of the Bankruptcy Code, Wells Fargo shall be granted

(effective as of the Petition Date and without the necessity of the execution by Hi-Temp of any

other security agreement or pledge agreement), pursuant to sections 361 and 363(e) of the

Bankruptcy Code, to the same extent, priority and validity as the Prepetition Liens existing with

respect to the Prepetition Collateral as of the Petition Date, valid and perfected, replacement



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security interests in, and liens on (collectively, the “Replacement Liens”), all of Hi-Temp’s right,

title and interest in and to all of Hi-Temp’s existing and after-acquired tangible and intangible

personal property in existence on or acquired or created at any time after the Petition Date

(collectively, the “Postpetition Collateral”), junior only to the Carve-Out (as defined below);

provided however, that the Postpetition Collateral shall not include the proceeds of any claims or

causes of action of the Debtor or its estate that may later be commenced under chapter 5 of the

Bankruptcy Code.

       6.      The Prepetition Liens and any Replacement Liens shall be subject to a carve-out

(the “Carve-Out”) for (i) all fees required to be paid to the Clerk of the Bankruptcy Court and to

the Office of the United States Trustee under section 1930(a) of title 28 of the United States

Code plus interest pursuant section 3717 of title 31 of the United States Code, (ii) the costs and

administrative expenses not to exceed $15,000 in the aggregate that are permitted to be incurred

by any chapter 7 trustee pursuant to an order of this Court following any conversion of any of the

Cases pursuant to section 1112 of the Bankruptcy Code, and (iii) the payment of allowed

professional fees and disbursements (the “Professional Fees and Disbursements”) incurred by the

professionals retained by the Debtor.

       7.      The Replacement Liens granted pursuant to this Order shall constitute valid and

duly perfected security interests and liens as of the Petition Date, and Wells Fargo shall not be

required to file or serve financing statements, notices of lien or similar instruments which

otherwise may be required under federal or state law in any jurisdiction, or take any action,

including taking possession, to validate and perfect such security interests and liens; and the

failure by Hi-Temp to execute any other documentation relating to the Replacement Liens shall

in no way affect the validity, perfection or priority of such Replacement Liens.



                                                 5
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       8.      Nothing contained herein is intended to grant Wells Fargo any rights, claims or

liens in the Prepetition Collateral to the extent it is later determined Wells Fargo does not have

valid liens on any of the Prepetition Collateral.

       9.      To the extent that as of the Petition Date, there existed any validly existing,

properly perfected and enforceable lien on any of the Prepetition Collateral that is senior in

priority to the security interest of Wells Fargo, nothing contained herein is intended to impair or

modify such priority.

       10.     This Order shall be binding upon all parties in interest, including, without

limitation, the Debtor and any statutory committee appointed in the Case. The Debtor and any

statutory committee appointed in the Case may investigate and if they deem appropriate,

commence an adversary proceeding pursuant to Bankruptcy Rule 7001 or contested matter as

required by the Bankruptcy Code and Bankruptcy Rules (an “Adversary Proceeding”)

challenging the amount, validity, enforceability, perfection or priority of the Prepetition

Obligations or the Prepetition Liens on or related to the Prepetition Collateral in respect thereof,

or otherwise asserting any claims or causes of action against Wells Fargo.

       11.     Entry of this Order shall be without prejudice to any and all rights, remedies,

claims and causes of action that the Debtor has against Wells Fargo or third parties relating to the

Prepetition Obligations and Credit Agreement.

       12.     Hi-Temp’s authority to use Cash Collateral pursuant to this Order will terminate

on June ___, 2016, which date may be extended upon entry of the Final Order by this Court.




                                                    6
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                               Exhibit 1

                                Budget
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                                                                                                    HI-TEMP SPECIALTY METALS, INC.


Hi-Temp Specialty Metals
13-Week Cash Flow Forecast                                                1                2                3               4               5               6              7                8                9           10           11             12           13
USD
                                                         Scenario:     Projected       Projected        Projected     Projected      Projected       Projected          Projected     Projected       Projected       Projected   Projected       Projected    Projected
                                                      Week Ending:    6/24/2016        7/1/2016         7/8/2016     7/15/2016      7/22/2016       7/29/2016           8/5/2016     8/12/2016       8/19/2016       8/26/2016    9/2/2016        9/9/2016    9/16/2016
                                                          Period #:        1               2                3             4              5               6                  7             8               9              10          11              12           13
Account Type Account CategorAccount
RECEIPT
             Cash Collections Domestic Accounts Receivable (Existing) $311,534         $120,250         $271,864        $494,810              $0         $73,500         $16,900               $0              $0          $0           $0              $0          $0
                              Domestic Accounts Receivable (Future)      $956             $956           $91,819        $215,080        $252,014        $184,494        $411,991         $370,084        $370,084    $502,799     $593,240        $404,254    $404,254
                              Foreign Accounts Receivable (Existing)  $531,257         $130,981               $0         $11,402              $0        $136,575              $0               $0              $0          $0           $0              $0          $0
                              Foreign Accounts Receivable (Future)          $0               $0         $136,462        $136,462        $236,462        $372,893        $238,159         $238,159        $253,505    $253,505     $389,936        $253,505    $253,505
                              Other Non-Trade Cash Inflows                  $0               $0               $0              $0              $0              $0              $0               $0              $0          $0           $0              $0          $0

                               TOTAL RECEIPTS:                        $843,747         $252,187         $500,145        $857,754        $488,476        $767,462        $667,050         $608,243        $623,589    $756,304     $983,177        $657,760    $657,760

DISBURSEMENT
          Cash Payments: Trade Accounts Payable Vendors         $298,000               $298,000         $298,000        $298,000        $298,000        $298,000        $298,000         $298,000        $298,000    $298,000     $298,000        $298,000    $298,000
                         Critical Trade Vendors                  $73,296                $73,296          $73,296         $73,296         $73,296         $73,296         $73,296          $73,296         $73,296     $73,296      $73,296         $73,296     $73,296
                         Conversion Costs Related To Baghouse Sw$117,600                     $0               $0        $100,000              $0        $117,600        $100,000               $0              $0    $150,000           $0        $100,000          $0
                         Non-Inventory Expenses, Other Than Bel $18,175                 $15,075          $79,318         $15,075         $19,075         $16,005         $75,093          $18,080         $17,575     $17,505      $45,093         $49,300     $17,575
                         Freight & Duties                        $15,019                $30,439          $16,495         $19,283         $16,711         $17,580         $20,564          $12,112         $14,056     $15,577      $18,639         $14,913     $16,692
                         Payroll, Taxes & Benefits                    $0                     $0          $36,215         $36,215         $36,215         $36,215         $36,215          $36,215         $36,215     $36,215      $36,215         $36,215     $36,215
                         Commissions                              $2,386                 $2,349           $2,358          $2,358          $2,395          $2,454          $1,953           $1,953          $1,978      $1,991       $1,953          $2,338      $2,363
                         Interest & Bank Charges                      $0                     $0               $0              $0              $0              $0              $0               $0              $0          $0           $0              $0          $0
                         Bankruptcy Professional Fees             $2,500                $20,000          $16,000          $3,000          $5,000         $20,000         $16,000           $2,500         $19,000      $5,000      $20,000         $16,000      $5,000
                         US Trustee Fees                                                 $5,000                                                                                                                                                                 $5,000
                         Insurance Payments                         $246                     $0          $23,161         $21,054              $0            $246         $19,733          $21,054              $0    $133,896       $9,750         $19,733     $21,054
                         Utilities                                $2,525                $37,025           $4,525          $6,905          $2,525         $37,025          $4,525           $7,655          $2,525      $2,525      $39,025          $6,905      $2,525
                         Rent, Auto & Equipment Leases            $3,061                 $2,244          $41,804          $2,168          $2,461          $1,829         $43,519               $0          $2,868      $3,061      $41,713          $2,335      $2,168
                         Timing Contingency                      $39,961                $36,257          $44,338         $43,302         $34,176         $46,519         $51,667          $35,315         $34,914     $55,280      $43,776         $46,428     $35,992
                         TOTAL DISBURSEMENTS                    $572,768               $519,685         $635,511        $620,657        $489,854        $666,769        $740,566         $506,180        $500,427    $792,346     $627,461        $665,462    $515,880

NET CASH FLOW                                                         $ 270,979    $     (267,498) $      (135,365) $     237,098   $       (1,378) $     100,693   $      (73,516) $      102,063   $     123,162   $   (36,042) $ 355,716   $       (7,702) $ 141,879
CUMMULATIVE CASH FLOW                                                 $ 270,979    $        3,481   $     (131,884) $     105,213   $     103,835   $     204,528   $      131,013   $     233,076   $     356,237   $ 320,195    $ 675,911   $     668,209   $ 810,088
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                               Exhibit B



                      Wells Fargo Loan Documents
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